                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                                3:07cr61-2


UNITED STATES OF AMERICA,                         )
                                                  )
                                                  )
Vs.                                               )             ORDER
                                                  )
EMMANUEL ELLIS KELLER,                            )
                                                  )
                 Defendant.                       )
_______________________________                   )

        THIS MATTER is before the court on defendant’s Motion for Revised or

Supplemental Pre-Sentence Investigation Report (#550). Review of this matter reveals that

this action was remanded to this court for resentencing prior to the Sentencing Commission

making the Fair Sentencing Act of 2010 retroactive and before the Court of Appeals for the

Fourth Circuit issued its decision in United States v. Simmons, ___ F.3d ___, No. 08-4475

(4 th Cir. August 17, 2011). Defendant requests that, in advance of re-sentencing, Pretrial

Services be instructed to supplement its presentence report as defendant was previously

enhanced by a prior felony he believes is now covered by Simmons and that the amount of

crack cocaine reasonably foreseeable by defendant may also come into play under the FSA.

Defendant reflects consultation with counsel for the government, who does not oppose the

relief sought.

        For good cause shown the relief will be granted, and Pretrial Services instructed to

conduct whatever additional investigation is warranted and to submit a supplemental PSR

as soon as possible.




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                                        ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion for Revised or

Supplemental Pre-Sentence Investigation Report (#550) is GRANTED, and Pretrial Services

is directed to conduct whatever additional investigation is warranted under Simmons and the

FSA and to submit a supplemental PSR as soon as possible.



       The Clerk of Court is instructed to send a copy of this Order to United States

Probation Officer Baker.




                                            Signed: October 6, 2011




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